Case o-24-OoU0/1-asSt DOC lo-lo Filed ti/iy/2z4 entered Llilyiz4 10lo9706

EXHIBIT “P”
Case o-24-OoU0/1-asSt DOC lo-lo Filed ti/iy/2z4 entered Llilyiz4 10lo9706

CERTIFICATE OF AMENDMENT OF THE CERTIFICATE OF INCORPORATION
OF BLUE DIAMOND SHEET METAL, INC,

PURSUANT TO SECTION 605 OF THE BUSINESS CORPORATION LAW OF THE
STATE OF NEW YORK

Filed by
Campolo, Middleton & MoCormlek, LLP
4t75 Veterans Memorial Highway, Suite 400
Ronkonkoma, NY 11779
Cust. Ref. #3541 -001

Filed with the NYS Department of State on 07/07/2021
Filing Number: 210708000448 DOS MD: 830654

Case o-24-Oo0/1-asSt DOC lo-lo Filed ti/ty/2z4 entered Llilyiz4 10lo9706

CERTIFICATE OF AMENDMENT
OF THE
CERTIFICATE OF INCORPORATION
OF
RLUE DIAMOND SHEET METAL, INC,

Under Section 805 of the Business Corporation Law

1. The name of the corporation !s Blue Diamond Sheet Metal, Inc, (the “Cerporation”).

2. The certificate of incorporation of the Corporation (such certificate of Incorporation, as amended or
restated and in effect thereafter, the “Certificate of Incarporation") was filed with the New York State
Department of State on March 25, 1983.

3, The Certificate of Incorporation is hereby amended as follows:

Paragraph (1) of the Certificate of Incorporation relating to the existing name of the Corporation is hereby
umorided to road In ite entirety as follows!

1, The name of this Corporation is Blue Diamond Air Systems, Inc.

4, The oertificate of amendment was authorized by the vote of the board of directors followed by the

unanimous written consent of the holders of all outstanding shares.

IN WITNESS WHEREOF, the undersigned has sxecuted this Certificate as of June 15, 2021.

Namie: Meghan
Title: Chief Financial Officer

(3942.00 1/04 14344)

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